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       1                  IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
       2                           EASTERN DIVISION
       3
       4
       5
       6    MALEEHA AHMAD, et al.,                          )
                                                            )
       7          Plaintiffs,                               )
                                                            ) Cause No.
       8    vs.                                             ) 4:17-cv-2455-CDP
                                                            )
       9    CITY OF ST. LOUIS, MISSOURI,                    )
                                                            )
      10          Defendant.                                )
      11
      12
      13
      14
      15                      DEPOSITION OF RANDY JEMERSON
                            Taken on behalf of the Plaintiff
      16                           December 19th, 2018
      17
      18
      19               Jamie Jo Kinder, CCR 842, CSR 084.003306
      20
      21
      22
      23
      24
      25
                                                                   Exhibit O


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       1                                       I N D E X
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       4                                      EXAMINATION
       5    QUESTIONS BY MR. ROTHERT                                   5
       6    QUESTIONS BY MR. DIERKER                                 56
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       8    Deposition Exhibit 1                                     16
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      10
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      12
      13                      (Exhibit retained by the Reporter.)
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       1                   IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
       2                            EASTERN DIVISION

       3

       4      MALEEHA AHMAD, et al.,                     )
                                                         )
       5            Plaintiffs,                          )
                                                         ) Cause No.
       6      vs.                                        ) 4:17-cv-2455-CDP
                                                         )
       7      CITY OF ST. LOUIS, MISSOURI,               )
                                                         )
       8            Defendant.                           )

       9

      10                     DEPOSITION OF WITNESS, RANDY JEMERSON,

      11      produced, sworn, and examined on the 19th day of December,

      12      2018, between the hours of 9:44 o'clock in the forenoon and

      13      11:30 o'clock in the forenoon of that day, at St. Louis

      14      City Hall, 1200 Market, Room 314, St. Louis, MO, before

      15      Jamie Jo Kinder, Missouri CCR 842, Illinois CSR 084-00306,

      16      a Certified Court Reporter within and for the State of

      17      Missouri, in a certain cause now pending before the United

      18      States District Court, Eastern District of Missouri,

      19      Eastern Division, wherein MALEEHA AHMAD, et al., are the

      20      Plaintiffs, and CITY OF ST. LOUIS, MISSOURI is the

      21      Defendant.

      22

      23

      24

      25




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       1                               A P P E A R A N C E S
       2                  For the Plaintiffs:
       3                  Mr. Anthony E. Rothert
                          Ms. Jessie Steffan
       4                  AMERICAN CIVIL LIBERTIES UNION OF MISSOURI
                          906 Olive Street, Suite 1130
       5                  St. Louis, MO 63101
                          (314) 669-3420
       6                  arothert@aclu-mo.org
       7
       8                  For the Defendant:
       9                  Mr. Robert Dierker
                          St. Louis City Counselor's Office
      10                  1200 Market, City Hall, Room 314
                          St. Louis, MO 63103
      11
      12
      13       The Court Reporter:
      14       Ms. Jamie Jo Kinder, CCR, CSR
               ALARIS LITIGATION SERVICES
      15       711 North Eleventh Street
               St. Louis, MO 63101
      16       (800) 280-3376
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       1                    (Deposition commenced at 9:44 a.m.)

       2                IT IS HEREBY STIPULATED AND AGREED, by and between

       3      counsel for Plaintiffs and counsel for Defendant, that the

       4      deposition of RANDY JEMERSON may be taken in shorthand by

       5      Jamie Jo Kinder, CCR, CSR, a notary public and shorthand

       6      reporter, and afterwards transcribed into typewriting; and

       7      the signature of the witness is expressly reserved.

       8                                 * * * * *

       9                              RANDY JEMERSON,

      10      of lawful age, being produced, sworn and examined on

      11      behalf of the Plaintiffs, deposes and says:

      12                                EXAMINATION

      13      QUESTIONS BY MR. ROTHERT:

      14                Q    Could you state your name for the record,

      15      please?

      16                A    Lieutenant Randy Jemerson.

      17                Q    And your last name is J-E-M-E-R-S-O-N?

      18                A    Correct.

      19                Q    Is that correct?    Do you have a middle

      20      initial?

      21                A    E.

      22                Q    My name is Tony Rothert.       We met when you came

      23      in.   I am one of the attorneys representing the plaintiffs

      24      in this case.    Have you been deposed previously?

      25                A    I believe I have, yes.




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       1               Q    Do you have an estimate of how many times you

       2      have been deposed?

       3               A    Maybe once or twice.

       4               Q    You are not a defendant in this case, but have

       5      you ever been a defendant?      Have you been sued before?

       6               A    Outside of these things surrounding the

       7      protests, no.

       8               Q    So you have been sued a lot of times recently

       9      regarding -- in 2018 regarding protests?

      10               A    Correct.

      11               Q    Have you had any lawsuits in your personal

      12      capacity where you have been sued?

      13               A    No.

      14               Q    Have you been deposed in any of those cases

      15      where you were the defendant?

      16               A    No.

      17               Q    I'm not going to belabor this because you have

      18      been deposed before, but just as a couple of rules, will

      19      you please answer verbally so the court reporter can write

      20      down your answer?

      21               A    Yes.   I'm sorry.

      22               Q    Exactly like that, yes.      If you don't

      23      understand a question, will you please say so?        Sometimes I

      24      get a little convoluted and could ask a question that seems

      25      confusing.   Will you agree to say so if you don't




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       1      understand a question?

       2               A     Yes.

       3               Q     You can take a break at any time.      I hope this

       4      won't be such a long deposition that we're going to have

       5      any or more than one break, but I would ask you to answer

       6      whatever question's out there before you ask for a break.

       7      Okay?

       8               A     Yes.

       9               Q     Have you taken any medications, drugs,

      10      alcohol, anything today that would affect your ability to

      11      testify at today's deposition?

      12               A     No.

      13               Q     Do you have any -- any health conditions that

      14      would affect your ability to remember things or testify

      15      truthfully?

      16               A     No.

      17               Q     Did you do anything to prepare for today's

      18      deposition?

      19               A     Just a meeting, just kind of go over the facts

      20      of the case.

      21               Q     And who was in that meeting?

      22               A     Mr. Dierker, and I always forget her name.

      23                     MR. DIERKER:   Abby Duncan.

      24               Q     (By Mr. Rothert) Both attorneys; correct?

      25               A     Yes.




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       1               Q    Anything else you did to prepare?

       2               A    No.

       3               Q    What -- I'm not asking for exactly where you

       4      live, but what city do you live in?

       5               A    St. Charles.

       6               Q    And how old are you?

       7               A    43.

       8               Q    Where did you graduate from high school?

       9               A    Rosary High School, which is now called

      10      Trinity High School.

      11               Q    Did you attend the police academy in St.

      12      Louis?

      13               A    Yes.

      14               Q    When was that?

      15               A    1997.

      16               Q    Did you graduate the first time?

      17               A    Yes.

      18               Q    Other than the police academy, have you had

      19      any education beyond high school?

      20               A    Yes.    I have a master's from the University of

      21      Phoenix in administration of justice and security.

      22               Q    When did you receive your master's from the

      23      University of Phoenix?

      24               A    2010.

      25               Q    Besides your master's from the University of




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       1      Phoenix and the police academy, do you have any other

       2      education after high school?

       3               A    I have a certificate from SLU in -- it's a

       4      rather long title.    What is the title now that I'm thinking

       5      about it?    It's for leadership and organizational change, I

       6      believe is what it is, and outside of that would just be

       7      any training I received in the military, leadership

       8      training.

       9               Q    Chief Hayden also has that certificate, I

      10      believe.

      11               A    Uh-huh (yes).

      12               Q    I have heard that before.      So other than the

      13      police academy, the master's at the University of Phoenix

      14      and the certificate from SLU, there are no other formal

      15      education post high school?

      16               A    No.   Like I said, other than training I

      17      received in the military, leadership schools.        That's it.

      18               Q    Which branch did you serve in in the military?

      19               A    Army Reserves.     I'm still in.

      20               Q    When did you join?

      21               A    1994.

      22               Q    Did you receive in the military any medical

      23      training?

      24               A    Basic -- Actually it would be considered --

      25      now the term used is combat casualty care.        It's just a




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     1      combat level training, nothing overly thorough.

     2               Q    I was asking about in the military there.

     3      Outside the military, have you received any medical

     4      training?

     5               A    I took a Department of Homeland Security

     6      tactical combat casualty care instructor course.

     7               Q    Do you know what year that would have been?

     8               A    I want to say 2016, I believe.

     9               Q    Other than the basic combat casualty training

    10      in the military and the DHS program in 2016, have you

    11      received any other medical training?

    12               A    No.

    13               Q    Have you ever worked as a correctional

    14      officer?

    15               A    No.

    16               Q    Have you received any training, correctional

    17      training?

    18               A    No.

    19               Q    Do you have a driver's license?

    20               A    Yes.

    21               Q    Do you have any specialized training in

    22      driving, commercial driving?

    23               A    In the past I was a heavy motor vehicle driver

    24      for the Army, which would be considered a CDL on the

    25      civilian side.




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     1               Q     When's the last time you were doing CDL type

     2      driving?

     3               A     Probably 2005.

     4               Q     Have you ever been convicted of any crime?

     5               A     Never.

     6               Q     Have you ever been arrested?

     7               A     No.

     8               Q     Who is your current employer?

     9               A     St. Louis Metropolitan Police Department.

    10               Q     What is your position within the St. Louis

    11      Metropolitan Police Department?

    12               A     I'm the commander of SWAT, Canine and Aviation

    13      and also over the Civil Disobedience Team.

    14               Q     You mentioned that you're the commander of

    15      SWAT, Canine, Aviation and the Civil Disobedience Team.          Is

    16      that one job always for one person or does that happen to

    17      be -- Is it always the same person that is in charge of all

    18      four of those things or you just happen to be --

    19               A     No, it's been like that.      I mean, there has

    20      been -- Yes.    I mean, on paper it's over all four of those

    21      units.

    22               Q     So when did you become Commander of SWAT,

    23      Canine, Aviation and Civil Disobedience?

    24               A     February of this year.

    25               Q     Congratulations.




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     1               A    Thank you.

     2               Q    I'm assuming that was a promotion?

     3               A    I got promoted to lieutenant and the next day

     4      I was put over these.

     5               Q    Prior to February of 2018, what was your

     6      position with the St. Louis Metropolitan Police Department?

     7               A    I was a sergeant assigned to -- I was actually

     8      assigned to the academy, but I was detached to the Bureau

     9      of Enforcement, and myself and a counterpart were charged

    10      with conducting like the tactical training on the

    11      department and coordinating and training the Civil

    12      Disobedience Team.

    13               Q    And who was that counterpart?

    14               A    Sergeant Rossomanno.

    15               Q    Is that Brian Rossomanno?

    16               A    Yes.

    17               Q    Can you enlighten me on what the Bureau of

    18      Enforcement does?

    19               A    At the time, I think it's already changed

    20      again, but basically we are over patrol, all the aspects of

    21      patrol, over the department.

    22               Q    And how long were you a sergeant?

    23               A    Sergeant total?

    24               Q    Total number of years.

    25               A    2008 to until 10 years, 2008 to 2018.




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     1               Q    And were you assigned to the academy and the

     2      Bureau of Enforcement the entire time that you were a

     3      sergeant?

     4               A    No.

     5               Q    What was your assignment prior to being or the

     6      post immediately prior to being assigned to the academy and

     7      the bureau?

     8               A    I was sergeant and -- patrol in District 6.

     9      Prior to that district -- I'm not sure.       It was the point

    10      where they reduced the number of districts.        I was District

    11      5, which was District 8, and they changed somewhere midway

    12      I think right when they changed.      So I was in District 8

    13      before that and then I was deployed and then I was District

    14      1 prior to that.

    15               Q    What color shirt are you wearing today?

    16               A    White.

    17               Q    Are you wearing a white shirt because you're a

    18      lieutenant?

    19               A    Yes.

    20               Q    Do sergeants wear --

    21               A    Blue.

    22               Q    -- different colored shirts?

    23               A    Yes, blue.

    24               Q    Prior to 2008 when you became a sergeant, what

    25      was your title or rank?




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     1               A    Police officer.

     2               Q    Police officer.     Is police officer the initial

     3      title people are given when they join the St. Louis

     4      Metropolitan Police Department?

     5               A    It's thought out as a civil recruit and

     6      training.    Once they graduate they are a probationary

     7      police officer and after a year they are a police officer.

     8               Q    So has it been roughly since 1998 to 2008 that

     9      you were a police officer?

    10               A    Yes.

    11               Q    And before that you would have been

    12      probationary?

    13               A    Probationary, right.

    14               Q    Have you ever worked at any other police

    15      department other than the St. Louis Metropolitan Police

    16      Department?

    17               A    No.

    18               Q    Now that you're a lieutenant rather than a

    19      sergeant, does that change in any way the training you

    20      receive or did you get more training when you became a

    21      lieutenant?

    22               A    No.    No.   There wasn't like any specific type

    23      of leadership training or anything.       No.

    24               Q    Do you receive any annual in-service training?

    25               A    Yes.




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     1               Q    Do you know how many hours that is?

     2               A    Not to give you an exact number.

     3               Q    Do you receive any additional training beyond

     4      your annual in-service training?

     5               A    I generally throughout the years attend my --

     6      any other training on my own, whether it's offered by our

     7      department or outside agencies.

     8               Q    Does the St. Louis Metropolitan Police

     9      Department have any written policies or guidelines?

    10               A    Yes.

    11               Q    How frequently?

    12                    MR. DIERKER:    You should have a complete

    13      collection by now.

    14               Q    (By Mr. Rothert) Probably.      How frequently do

    15      you review those?

    16               A    Oh, the ones that deal directly with my units

    17      or anything under my command, I would say pretty

    18      frequently, and then obviously the ones that are through

    19      our PAS system where every month there is a review of

    20      certain special orders, so I kind of infrequently with the

    21      ones outside with the ones that deal directly with me, but

    22      pretty directly with the ones that I have hands in.

    23               Q    The policies that you deal with that deal with

    24      your department, are they located, or I'm sorry, with your

    25      duties, are they located all in one place or how do you




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     1      access them when you're reviewing them?

     2                A   They are on our department intranet.

     3                Q   Do all police officers and sergeants and

     4      lieutenants on upward have access to that intranet or just

     5      certain ranks?

     6                A   They all do.

     7                Q   You made reference to the PAS systems.        Can

     8      you tell me what that is?

     9                A   Basically it's a system every month you're

    10      advised that you have some -- I forgot how it's worded,

    11      where you have to go in and you have to do a monthly use of

    12      force, pursuit policy.     You got to review those and there

    13      are brief quizzes for those, and then there are other

    14      random policies and procedures that you have to review and

    15      sign off on saying that you acknowledge those policies.

    16                Q   Do you recall filing or filling out a

    17      declaration in this case that we're here on today?

    18                A   Yes.

    19                    (Deposition Exhibit No. 1 marked for

    20      identification.)

    21                Q   (By Mr. Rothert) I'm now handing you what has

    22      been marked for this deposition as Exhibit 1, and it has

    23      today's date, December 19th, in the corner of the sticker,

    24      and I have provided a copy to counsel.        Do you recognize

    25      that --




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     1               A    Yes.

     2               Q    -- document?    And is this the declaration that

     3      you signed in this case?

     4               A    Yes.

     5               Q    And if you would turn to the third page.         Is

     6      that your signature there?

     7               A    Yes.

     8               Q    Do you know about whether there were any

     9      orders that affect the police department that were entered

    10      in this case that affect what the police department can or

    11      can't do?

    12               A    In terms of our policies and procedures you

    13      mean?

    14               Q    Yes.

    15               A    I guess I'm not understanding what you mean.

    16      Like prior to this are there orders that affect this you

    17      mean?

    18               Q    No.    In this case, as a result of the hearing

    19      that you filed a declaration in, do you know if the court

    20      entered any orders directing the police department to do or

    21      not do anything?

    22               A    There was an injunction that -- I'm trying to

    23      think off the top of my head what exactly all it covered.

    24      But basically the injunction limited or addressed the use

    25      of chemical munition and whether or not orders -- we can




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     1      give surrounding orders to disperse for unlawful -- What's

     2      the phrase?   Unlawful assembly.     There we go.

     3                Q   We all wanted to help.

     4                A   I know.

     5                Q   But we knew you would get there.

     6                A   I knew I would get there.

     7                Q   Is that injunction or anything about it ever

     8      been one of the things that has been put through on the PAS

     9      system?

    10                A   I don't believe so as of yet.       I'm not a

    11      hundred percent sure, but I don't think that I have come

    12      across that yet.

    13                Q   Is there something in your experience as a

    14      police officer all these years with the St. Louis

    15      Metropolitan Police Department called a charge code?

    16                A   Yes.

    17                Q   What is a charge code?

    18                A   Just whatever the law is, there is an assigned

    19      number that goes along with that charge.       It's just like

    20      used during booking.

    21                Q   And when you need to know the charge code for

    22      something, do you have those all -- do you have those all

    23      memorized?

    24                A   No.

    25                Q   So how would you find out what the charge code




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     1      is?

     2               A     Those are also on the intranet, and then they

     3      are posted throughout the station and in the booking areas.

     4               Q     Is this -- Excuse my ignorance.      Is this --

     5      Are there dozens of charge codes or hundreds or thousands,

     6      do you know?

     7               A     Hundreds, I would assume, if not more.

     8               Q     I know there are a lot of ordinances.

     9               A     Yes.   Yes.   Yeah.   I couldn't even begin to

    10      tell you the number of them.

    11               Q     Hundreds seems right.     Okay.   Is there a book

    12      somewhere that has charge codes in it?

    13               A     There also are books broken down into traffic,

    14      non traffic.    There is the state book for the state level

    15      charges.

    16               Q     As a lieutenant, what equipment is issued to

    17      you by the St. Louis Metropolitan Police Department?

    18               A     Just the basic duty uniform equipment.

    19               Q     So what does the basic duty uniform equipment

    20      consist of?

    21               A     Your weapon, duty belt, pants, shirt, any rank

    22      or nameplates.

    23               Q     Anything else?

    24               A     I'm sure there is something that I'm missing,

    25      but I can't think of anything off the top of my head right




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     1      now.

     2               Q    Is this the same equipment as a lieutenant

     3      that you had as a sergeant?

     4               A    Yes.

     5               Q    Nothing additional as a lieutenant, other than

     6      it says lieutenant, it's a different color?

     7               A    Just a different badge and nameplate, you

     8      know.   It's just different.

     9               Q    The color of the shirt is different?

    10               A    The color of the shirt is different, yeah.

    11      No, I can't think of anything else really outside of that.

    12               Q    Are you issued a radio of some kind or

    13      communication device?

    14               A    Yes.   Yes.

    15               Q    What about a Taser?

    16               A    Lieutenants generally don't have Tasers.

    17      Officers and sergeants do.

    18               Q    What about pepper spray?

    19               A    Yes, you're given that at every rank.

    20               Q    Are you issued as a lieutenant in your current

    21      position tactical gear?

    22               A    Yes.

    23               Q    And as a sergeant, were you also issued

    24      tactical gear?

    25               A    In my previous position, yes.




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     1               Q     The most recent position?

     2               A     Right.    It's not something that all sergeants

     3      are given.

     4               Q     Okay.    But when you were assigned to the

     5      academy and the Bureau of Enforcement, you did have

     6      tactical gear then?

     7               A     Yes.

     8               Q     But when you were assigned to different

     9      divisions, you would not have had it?

    10               A     I would have had the gear required for the

    11      Civil Disobedience Team.      I don't know if that falls under

    12      tactical gear or not.      But no additional tactical gear

    13      other than the Civil Disobedience Team gear prior to my

    14      last position.

    15               Q     Okay.    What is tactical gear?

    16               A     I would classify it as being plate carrier,

    17      ballistic that carries the plate to stop rifle rounds,

    18      helmet, what would be considered a BDU or combat shirt,

    19      weapon, rifle.

    20               Q     Anything else?

    21               A     I mean, I could -- There is numerous other

    22      things I could probably rattle off.        But I mean that would

    23      be the basic tactical gear that someone would be issued,

    24      say, if they were on SWAT.

    25               Q     And you mentioned CDT gear.       Let me go




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     1      backwards for a minute.     CDT stands for?

     2               A    Civil Disobedience Team.

     3               Q    What is the Civil Disobedience Team?

     4               A    Basically a team that is designed to address

     5      any type of protest or riot situation.       They are issued the

     6      basic gear of helmet, shin guards, load-bearing vest and

     7      gas mask pouch, and then everybody, every officer already

     8      has a mask, gas mask anyway.

     9               Q    So gas mask would be standard-issued

    10      equipment?

    11               A    Standard-issued across the board, yeah.

    12               Q    How many other lieutenants are there in the

    13      St. Louis Metropolitan Police Department?

    14               A    I'm not sure.

    15               Q    And then do you have any idea how many

    16      sergeants there are?

    17               A    No.

    18               Q    Would one up be -- If you were promoted again,

    19      would it be captain?

    20               A    Yes.

    21               Q    Do you know how many captains there are?

    22               A    I do not.    There is a captain over each

    23      district.    So I know there are six of them, but there are

    24      other captain positions throughout the department.

    25               Q    And above that would be major?




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     1               A     Yes.

     2               Q     And do you know how many majors there are?

     3               A     I'm not a hundred percent sure.

     4               Q     How many officers belong to the Civil

     5      Disobedience Team?

     6               A     There are, I would say, rough amount, I would

     7      say 300.     That is definitely not accurate because we train

     8      every academy class that comes out, but they are not

     9      officially utilized until they are actually issued gear and

    10      everything.    So we have several officers that have been

    11      through the training, but have not been issued gear.          So

    12      they have had training, but they wouldn't be utilized if

    13      something were to happen today.      So the numbers kind of --

    14      there is not a lock-in number.

    15               Q     But even today there would be hundreds?        I

    16      mean, if you were calling up today and say let's get out

    17      the Civil Disobedience Team, you could have hundreds?

    18               A     I would say at least probably 300, yeah.

    19               Q     Now, the officers assigned to the Civil

    20      Disobedience Team have other jobs; correct?

    21               A     Yes.

    22               Q     So is every officer potentially a member of

    23      the Civil Disobedience Team or are they selected somehow?

    24               A     Not as of yet.    So like I said, now we're at a

    25      point where everybody receives -- out of the academy




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     1      receives the basic Civil Disobedience Team training, but

     2      there are numerous officers that have not been through that

     3      training, they might have gone through a familiarization of

     4      it.   This was probably a couple of years ago I think I

     5      taught in continuing education where everybody kind of went

     6      through some basic one day mix of classroom and practical

     7      of it, but not everybody is on -- not everybody has had the

     8      full training, not everybody is issued gear.        So they might

     9      just have like a basic knowledge of it.

    10               Q     So if you were calling up -- If today we were

    11      calling up the Civil Disobedience Team, who would decide

    12      who is on it for today?

    13               A     They are identified on all of the duty

    14      rosters.     It's identified who are Civil Disobedience Team

    15      officers, so it would be -- they would look at anybody who

    16      is on duty for the day that is noted as a Civil

    17      Disobedience Team officer.

    18               Q     That Civil Disobedience Team training

    19      happened -- you mentioned some of it happens in the

    20      academy; is that correct?

    21               A     Uh-huh (yes).

    22               Q     Is there any Civil Disobedience Team training

    23      after the academy?

    24               A     Yes.   Usually at least once a year or if we

    25      know there is an event, a large event that is coming up




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     1      that is going to require to use the team on a detail, we

     2      will do training, but we try to do like just a basic

     3      refresher training for everyone once a year.

     4               Q    Do you know is it -- the training done all at

     5      once for everyone?

     6               A    Over the course of a few days, we try to

     7      capture everyone that is assigned the team.

     8               Q    Do you know when the last one was?

     9               A    I would say probably in the summer of 2017.

    10               Q    Well, I think I know the answer to my next

    11      question.    So the preliminary -- the injunction that was

    12      entered in this case would not have been discussed at the

    13      last Civil Disobedience Team training?

    14               A    Correct.

    15               Q    Because it hadn't come out yet?

    16               A    Right.

    17               Q    Do you know -- Have you ever heard or does it

    18      mean anything in the parlance of the St. Louis Metropolitan

    19      Police Department to have a Documentation Team?

    20               A    Yes.

    21               Q    What's the Documentation Team?

    22               A    So at any time when we know that the team is

    23      going to be deployed or just in any known protest situation

    24      we try to have a team out there, usually the area

    25      detectives depending on which area the protest is in just




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     1      to -- it's kind of a combination of people that are just

     2      taking notes and either video taping or photographing

     3      things that are going on during that incident.        So if

     4      arrests are being made, they are documenting those arrests.

     5      Any use of force incidents that can be captured, they are

     6      documenting those, and ultimately there will be someone --

     7      in the group will be someone that does the overall

     8      preparation, collection of everything for the overall

     9      report.

    10                Q   And is the Documentation Team, is it always

    11      the same group of people who are on the Documentation Team

    12      or does it vary?

    13                A   No, it varies.

    14                Q   Based on your many years experience with the

    15      St. Louis Metropolitan Police Department as police officer

    16      and as these higher ranks, what's your understanding of

    17      when you or another police officer can order someone to

    18      leave a sidewalk?

    19                A   It would be -- I guess it would be determined

    20      on what incident is occurring there.       I mean, if it's any

    21      scene like, say, if it's a homicide scene or shooting

    22      scene, something like that, and the areas need to be

    23      cordoned off then we would -- that's when we would have

    24      someone leave the sidewalk.      If in a protest situation, if

    25      it was deemed that we needed that entire area cleared, then




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     1      that would also include the sidewalk, you know, or just

     2      clearing that complete area out, disperse any crowd that is

     3      in that area.

     4               Q    Other than cordoning the area of the scene of

     5      a crime and if you deem in a protest that an entire area

     6      needs to be cleared, are there any other circumstances in

     7      which in your experience police officers would be able to

     8      order people to leave the sidewalk?

     9               A    Like I said, I mean, it would depend on the

    10      situation, on what the call is.      If we're talking about

    11      normal patrol, again I mean, that would vary.        It would

    12      even depend on what the situation is and what if it's just

    13      a reasonable order again an officer is given depending on

    14      what that situation is.     So it's kind of hard to really

    15      give a set answer for that.

    16               Q    How would you -- How would an officer know if

    17      an order to leave a sidewalk is reasonable or not?

    18               A    Again, I mean, it kind of varies depending

    19      upon what context we're talking about here.        Like I said,

    20      depending on what type of call it is, if they are advising

    21      someone that they need to go back inside their residence or

    22      back inside their property, is it a disturbance between the

    23      neighbors or something like that.       It would really depend

    24      on the type of situation they are dealing with.

    25               Q    Okay.   I want to direct your attention to




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     1      September and October of 2017 when there was -- There were

     2      some protests in response to a verdict in a case involving

     3      a Mr. Jason Stockley; is that correct?        Jason; is that

     4      right?

     5               A    I believe that's his first name.

     6                    MR. DIERKER:    That's correct.

     7               Q    (By Mr. Rothert) I'm trying to remember.         Do

     8      you understand what period of time I'm talking about?

     9               A    Yes.

    10               Q    And at that time you were a sergeant?

    11               A    Correct.

    12               Q    When did you -- Were you aware prior to

    13      September or October of 2017 about the case going on

    14      against Officer Stockley?

    15               A    Yes.

    16               Q    Former Officer Stockley.       When did you -- Did

    17      you know that a verdict was going to be issued before it

    18      happened?

    19               A    We knew the day and we had an understanding

    20      that we were supposed to be notified a few hours prior to

    21      it actually being released.      That was not the case, but

    22      that was the understanding, yes.

    23               Q    Did you -- Just personally did you expect that

    24      there could be protests in response to the verdict?

    25               A    Yes.




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     1               Q    And did your -- Just based on things you heard

     2      around, was that a generally expected thing by police

     3      officers that there would be protests?

     4               A    Yes.   If the verdict went they way it did, we

     5      knew there would be some type of protests.

     6               Q    What did you base that on?      I mean, you knew

     7      it.   What did you base that belief on?

     8               A    That was from working nothing but protests for

     9      the last three years prior.

    10               Q    And when you talk about working protests,

    11      nothing -- nothing but protests from the three years prior,

    12      you're talking working on protests back to the fall of

    13      2014?

    14               A    Yes.

    15               Q    How did you prepare for the protests that you

    16      were predicting?

    17               A    So there was again, like I said, there was a

    18      training of the team.     There was obtaining more gear to

    19      make sure that everybody on the team was outfitted

    20      correctly.   There were -- I couldn't give you an exact

    21      number, but I know that there was definitely more than one

    22      or two meetings to discuss -- command meetings to kind of

    23      discuss how we would handle, what the deal would look like

    24      and how we would handle any incidents that might come up.

    25               Q    You were talking about making sure that people




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     1      were outfitted correctly.     Would that be different than

     2      their normal police officer outfits or uniforms?

     3                A   The Civil Disobedience Team gear that we

     4      discussed earlier.

     5                Q   How long has the Civil Disobedience Team been

     6      called the Civil Disobedience Team?

     7                A   Prior to -- Prior to 2002 at least.        I'm not

     8      sure how long much before then, but I think that was -- I

     9      think that was around the time when I started when I was on

    10      the team.

    11                Q   And what does -- What's your understanding of

    12      what civil disobedience is?      What does it mean to you?

    13                A   I mean, there is various levels, you know,

    14      depending on what the incident is.       I mean, obviously just

    15      at its lowest level would just be dealing with any type

    16      of -- of any type of protest, even if it's peaceful at that

    17      point, and then just preparing for when it does go beyond

    18      just being peaceful protests and people exercising their

    19      rights.   So when it gets to the point of agitators in the

    20      crowd or actual physical altercations between citizens and

    21      whatever police line that might be there to the point of

    22      things being riotous, where they are damaging property and

    23      people are being injured.

    24                Q   Is it -- So for any protest a Civil

    25      Disobedience Team could be deployed?




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     1               A    They could be, but they aren't.       They

     2      generally aren't.    It really only depends on what

     3      information we know prior to as to whether or not they

     4      would be involved.    On a regular basis they aren't, you

     5      know.   There are people that are on duty.       They may have

     6      their gear with them, but on just any general every day

     7      protest they aren't utilized.

     8               Q    And who makes that determination whether or

     9      not the CDT is going to be utilized at any given protest?

    10               A    I don't know if there is an answer for that or

    11      not.    Like I said, my previous position I guess it probably

    12      would have been at the lieutenant-colonel or higher with

    13      the chief, but that's kind of one of those things that you

    14      just kind of play it by ear depending on who is monitoring

    15      the crowd and what they expect and see the potential to

    16      happen, something going further.

    17               Q    All right.    Where -- Is it possible to have a

    18      protest in the City of St. Louis without breaking the law?

    19               A    Yes.

    20               Q    Where can -- Where can someone have a protest

    21      without breaking the law in the city?

    22               A    I guess again that would kind of depend on the

    23      location.    I mean, there is nothing against people --

    24      obviously you can be on the sidewalks or any type of public

    25      property.    So obviously locations like that you wouldn't be




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     1      breaking the law in any manner just to gather in numbers

     2      and protest whatever you are upset about.

     3               Q    You said sidewalks and did you say streets,

     4      public --

     5               A    Any other public property.

     6               Q    What about streets, protesting on the streets?

     7               A    I mean, if you're protesting in the street, I

     8      mean, I think it would be kind of hard to argue that

     9      technically is there -- and this is prior to anything that

    10      has come out since last year when we did with this protest,

    11      but you are technically impeding the flow of traffic,

    12      depending on if there is traffic in that area.        So I mean,

    13      it's kind of one of those things where you allow; however,

    14      I mean, is there a technical violation of a law, yes.

    15               Q    Isn't there also an ordinance about impeding

    16      flow of pedestrian traffic on the sidewalk?

    17               A    Yes.   You know, so it could also --

    18      anywhere -- you can protest anywhere, but I mean, yes, as

    19      long as you're not violating an established law, you know,

    20      infringing upon any other type of law, I think it's one of

    21      those things that it has been allowed and it's not

    22      something that is really enforced too much.        But is it a

    23      technical violation of an ordinance?       Yes.

    24               Q    And I understand you are not responsible for

    25      writing the ordinances, but is there -- Are you aware of




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     1      any way for anyone who wanted to have a protest in the City

     2      of St. Louis to get a permit to allow them to be on the

     3      sidewalk in a way that might impede pedestrian traffic or

     4      to be in the street that in a way that might impede

     5      vehicular traffic?

     6                A   Yes.    Yes.   I don't know what that procedure

     7      is to obtain a permit.       I know that is done by some and not

     8      others.   We have zero to do with that vetting process on

     9      who gets a permit and who doesn't.

    10                Q   How do you -- Have you ever had to decide as a

    11      police officer yourself whether, let's say, they protest on

    12      a sidewalk -- as a technical violation has become illegal

    13      and needs to end or on the street, the same question, have

    14      you ever been in a position of making that decision?

    15                A   No.    No.   In my previous positions I wasn't

    16      making -- I mean, even as a sergeant, I wasn't making any

    17      decisions.    I was more so observing and advising higher of

    18      what I was observing and then let them make the

    19      determination as to how they wanted to move forward.

    20                Q   Okay.   In addition to this infringing traffic

    21      issue on sidewalks or streets, can protests -- have they in

    22      your experience sometimes run afoul of the unlawful

    23      assembly ordinance in the city?

    24                A   Yes.    You know, not all of them are peaceful.

    25      Obviously when it gets to the point of any type of physical




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     1      altercation or contact with officers that might be out

     2      there or obviously once they move higher than that to the

     3      point that things are being thrown, that would fall under

     4      that, an unlawful assembly.

     5               Q    What's your understanding -- You have probably

     6      already answered this.     What's your understanding of what

     7      constitutes an unlawful assembly in the City of St. Louis?

     8               A    Well, I guess what it is and how it's kind of

     9      been used might be kind of two different things.         We have

    10      been advised in the past to once say if you have -- there

    11      has been a group that has occupied a street for X amount of

    12      time and it's been deemed they no longer want them in this

    13      area where it's time like, say, technically, we are already

    14      in as far as we're not blocking traffic for them to

    15      exercise their rights, then they are obviously violated by

    16      impeding the flow of traffic, and if that group has been

    17      advised via PA system or something that to leave the area

    18      or move out of the street and to the sidewalk and they

    19      refuse to, then we have been advised in the past to declare

    20      that unlawful assembly and advise them that it's now time

    21      to leave that area.

    22               Q    Okay.   Have you ever been in the position of

    23      declaring something an unlawful assembly yourself?

    24               A    I have given the verbal order before after

    25      receiving orders from above to give that order.




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     1                      MR. ROTHERT:   Can we take a break for a

     2      moment?

     3                    (Whereupon, a short break was taken.)

     4                Q     (By Mr. Rothert) Is part of civil disobedience

     5      training defining civil disobedience?          Is that something

     6      that happens in the class?

     7                A     Yes.

     8                Q     And you actually teach that class; right?

     9                A     Yes.

    10                Q     So most of these officers would probably have

    11      learned that from you?

    12                A     Myself or Sergeant Rossomanno at some point.

    13      But, yeah, it's covered in the class reports.

    14                Q     Are you the two people that teach that?

    15                A     It's just me now primarily.      At the time, yes,

    16      it would have been both of us.

    17                Q     Thinking back to September 17, 2017, it was a

    18      Sunday.   Do you remember that day at all?

    19                A     Yes.

    20                Q     You were working that date?

    21                A     Yes.

    22                Q     Do you remember what hours you worked that

    23      day?

    24                A     All of them.   That would probably be the best

    25      way to sum it up.      Yeah.   I couldn't even tell you.




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     1               Q    That evening you were working in the

     2      evening --

     3               A    Uh-huh (yes).

     4               Q    -- hours?    You were Downtown?

     5               A    Uh-huh (yes).

     6               Q    Is that correct?

     7               A    Yes.

     8               Q    And when we talk about Downtown, if I say

     9      Downtown, what does that mean to you geographically?

    10               A    Never thought about that.      I don't know.     I

    11      don't know.   I guess it would be -- You mean in terms of

    12      street boundaries?

    13               Q    Yes, generally.     I just want to make sure that

    14      we're talking about the same thing, and we have a common

    15      understanding of what we're talking about.        I'm not trying

    16      to quiz you on that.

    17               A    I would say our immediate area now, probably

    18      anywhere between a few miles of the riverfront.

    19               Q    Were any of the streets that evening, were any

    20      of the streets Downtown blocked off to vehicular traffic?

    21               A    The only thing I can recall was I believe

    22      there were some chairs set up on Olive in front of the

    23      library for some of -- either took place or was taking

    24      place the next day.     That's the only thing that I can

    25      recall anything being blocked off, and I don't even recall




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     1      if it was the entire street or not.

     2               Q    That evening did there come a time when

     3      someone declared an unlawful assembly that you're aware of?

     4               A    Yes.   I don't recall exact point.      It would

     5      have been at some point after the group -- some point after

     6      the damage that was occurring down in the Downtown area.

     7      It was some point after that.

     8               Q    Do you recall approximately how many people

     9      were in the Downtown area on the streets and sidewalks that

    10      evening?

    11               A    No, and it would depend at what point because

    12      there was -- there was the initial protest, march, that was

    13      kind of going on throughout Downtown.        I mean, I would say

    14      there were maybe a couple hundred.       That's just a

    15      guesstimate of the initial march.

    16               Q    And let's talk just about the initial march.

    17      Do you know -- Did that begin at the police headquarters or

    18      do you know where?

    19               A    I don't recall.     I know that is where it

    20      ended.

    21               Q    It ended at the police headquarters?

    22               A    Yes.

    23               Q    And do you know where it started or how it got

    24      there?

    25               A    Yeah, I don't recall exactly where it started.




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     1      Yeah.   I can't recall exactly where it began.

     2                Q   Do you know approximately how long it was in

     3      terms of distance or time or both?

     4                A   I don't recall, but I know it lasted for quite

     5      a bit where they marched throughout the Downtown area.

     6      Maybe it started at Kiener Plaza.       I can't recall, but I

     7      know it lasted for quite a bit and then it ended on 20th

     8      Street.

     9                Q   And Olive?

    10                A   And Olive, yes.

    11                Q   I know you don't know exactly how long it was,

    12      but it was more than a number; correct?

    13                A   I would say so.

    14                Q   Okay.

    15                A   I know we were -- because I'm pretty sure that

    16      I was in my vehicle.     I know we were driving around kind of

    17      observing for quite some time.

    18                Q   And you think there were a couple hundred

    19      people involved in that march?

    20                A   I'm just guessing, yes.

    21                Q   More than a hundred, though?

    22                A   I would say so, yeah.

    23                Q   And did that march take place on streets or

    24      sidewalks?

    25                A   Streets.




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     1               Q    Streets.    And do you know if anyone had a

     2      permit for that march?

     3               A    I don't know, but I doubt it.

     4               Q    And did that march obstruct or impede traffic?

     5               A    I believe it did initially, but I want to

     6      say -- Now again, I'm not a hundred percent sure because we

     7      were -- there was some inconsistencies depending on who was

     8      in charge that night on how it was handled, but I want to

     9      say that particular night we might have blocked, knowing

    10      that it was going to occur, I think we might have already

    11      had vehicles in place to kind of just fleet and follow.

    12      Obviously we didn't know 100 percent.        There would probably

    13      be more people following them because we didn't know what

    14      their route was going to be.      I am assuming we probably had

    15      vehicles in place to block traffic that night.        Again, I'm

    16      not a hundred percent sure.      Depending on who was in

    17      charge, they would make that decision on whether or not

    18      that is what we were going to do that night or not that

    19      night.

    20               Q    And would it be easier, and just your

    21      experience as police officer, wouldn't it be easier if

    22      protesters that were going to use streets or sidewalks had

    23      permits?

    24               A    Yes.

    25               Q    Would it be easier if there was like specific




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     1      places and times when you knew people were allowed to be?

     2               A     Yes.   That would obviously be easier, yes.

     3               Q     Easier for the police?

     4               A     Yes.

     5               Q     Do you recall approximately what time that

     6      evening that that initial protest/march ended?

     7               A     It was already dark.     I would say maybe around

     8      8:00 p.m., but I'm not a hundred percent sure, and I know

     9      there's tons of tape and footage.       They can pinpoint the

    10      exact times, but I'm not exactly sure.

    11               Q     In all of those other cases where you get to

    12      be a defendant, you'll probably -- those details will

    13      probably really matter.     We're talking more about general

    14      policies here.    So you know, I'm just looking for

    15      approximately.    So what happened after -- How did that

    16      protest end?    Was it organic?    Was it just people left or

    17      did the police --

    18               A     No, the unofficial leaders of the protest

    19      pretty much said that they were done, like their part of

    20      that -- of their marching and everything was over, and some

    21      people started to dissipate.      But it was while that

    22      breaking down of that group was occurring, then another

    23      group kind of started to gather in front of headquarters,

    24      but in the -- still in the midst of the entire group kind

    25      of slowly breaking up, and I would say within 20 or 30




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     1      minutes it was when that group that kind of broke off

     2      started marching on their own east on Olive.

     3               Q     And you mentioned earlier there was some

     4      damage that night.     Was that around 9th and Olive?

     5               A     There were a few locations, but I know it all

     6      started after the group crossed over Tucker.

     7               Q     Okay.

     8               A     So once they moved past Tucker heading

     9      eastbound, I think there was a few locations in that area

    10      where they started to damage property.

    11               Q     Okay.   How big would you guess or as best you

    12      can remember is this other group that you're talking about

    13      that breaks off and goes and does the damage?

    14               A     I would say probably less than -- definitely

    15      less than a hundred.     Maybe 50 to 80 I think initially,

    16      somewhere in there, if even that many.        I'm not sure.     It

    17      was -- I kind of just watched.       I saw them initially from

    18      the side when they were still breaking off from the other

    19      group, and then I was kind of maneuvering around trying to

    20      keep up with them as they were walking.        So I would say

    21      probably more than 50.

    22               Q     And there were other groups beyond just we

    23      call another group, but this 50 to 80, there were other

    24      groups as well, weren't there --

    25               A     No.




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     1               Q    -- who were Downtown?

     2               A    I mean, that were -- Like I said, there was

     3      the main protest and then there was that group broke off

     4      and started going and, then prior to them getting to

     5      Tucker, that area where I said the chairs were set up, I

     6      think they started throwing some of those chairs out into

     7      the street.   Whether any of those were damaged, I don't

     8      know.   But I know property was getting damaged.       Business

     9      property was getting damaged once they crossed over Tucker.

    10               Q    How many people are there on a typical evening

    11      at 8:00 p.m. Downtown just on the streets walking around?

    12               A    It depends on what part.        I mean, if we're

    13      talking Washington, then there's probably a good amount out

    14      there or maybe it -- there is different pockets so it kind

    15      of depends.   I would say foot traffic on Tucker probably

    16      was minimal other than that group, but it kind of depends

    17      on what location you're talking about in the Downtown area.

    18               Q    So about -- I mean, if we were squaring

    19      Washington and Olive and between 9th, and where's the

    20      library, 14th?

    21               A    Yeah.

    22               Q    9th and 14th, in that kind of region, is that

    23      in an area where there are consistently pedestrians around

    24      on a Sunday evening or would that be normal?

    25               A    No.   There is not normally that much foot




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     1      traffic in that immediate area.

     2               Q    There came a time around 10:50 that evening

     3      that someone declared -- someone declared an unlawful

     4      assembly; is that right?

     5               A    Uh-huh (yes).

     6               Q    Do you know --

     7                    MR. DIERKER:    You need to answer yes.

     8               A    Oh, yes.    I was drinking.    Yes.

     9               Q    (By Mr. Rothert) All right.      Do you know who

    10      declared that unlawful assembly?

    11               A    I believe -- I believe Sergeant Rossomanno was

    12      advised to declare unlawful assembly at one point.         This

    13      was after the damage to the property.        I don't recall if it

    14      was at the 10:50 time frame, but at some point I know once

    15      the group -- the group was damaging property and then as

    16      officers started responding to that area, I know there was

    17      some -- there were a few foot pursuits trying to take

    18      people into custody.     So that initial group that was

    19      damaging property kind of -- everybody kind of went in

    20      separate directions and dissipated.       They all eventually

    21      kind of started to gather again at Washington and Tucker

    22      and Tucker and St. Charles area.      So it was sometime after

    23      that, after that group started to kind of regroup again in

    24      that area that an order of unlawful assembly was given.

    25               Q    And Tucker and St. Charles, was that your




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     1      staging area that night?

     2                A    No.

     3                Q    Do you know if that unlawful assembly that you

     4      heard Sergeant Rossomanno announce, was that the only time

     5      an unlawful assembly was declared that night as far as you

     6      know or were there others?

     7                A    I believe that was the first that evening, I

     8      believe.

     9                Q    Do you know who can declare an unlawful

    10      assembly?     Can any police officer declare that?

    11                A    The actual verbiage of it?

    12                Q    Who can decide that the assembly has become

    13      unlawful and people need to leave or be arrested?

    14                A    That was generally whoever the incident

    15      commander was that evening.      So normally that was a major

    16      or lieutenant colonel rank that generally made that call.

    17      Nobody made that without any -- without any approval from

    18      higher.

    19                Q    From higher than --

    20                A    Like at the sergeant level, we weren't making

    21      that.    We weren't just out there saying that on our own,

    22      right.

    23                Q    What about lieutenants, could lieutenants do

    24      that?

    25                A    I believe they could have at the time, but I'm




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     1      only assuming that they probably also had gotten some prior

     2      approval.    But I believe the lieutenant could have.

     3               Q     Were people taken into custody for destroying

     4      property or property damage that evening?

     5               A     I'm not sure.    I know a few people were taken

     6      into custody.    I can't recall or I have no knowledge on

     7      whether or not they were able to -- those that might have

     8      been taken into custody were directly linked to the damaged

     9      property.    I'm not sure.

    10               Q     Do you know what Luther Hall was taken into

    11      custody for?

    12               A     I do not.

    13               Q     By the time -- So Sergeant Rossomanno is the

    14      one who gave the -- made the announcement that the assembly

    15      was unlawful and that people needed to leave?

    16               A     Correct.

    17               Q     But it's your understanding that someone else

    18      gave him the order to do that?

    19               A     Yes.

    20               Q     You also told people that they should leave?

    21               A     Yes.

    22               Q     Correct?

    23               A     There was numerous verbal conversations with

    24      either people that I just know from dealing with a lot of

    25      protesters or some that I didn't, but, yes, I made numerous




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     1      attempts to kind of advise them, hey, it's time to leave

     2      the area.

     3               Q    When you -- In this situation or when

     4      someone -- people are being ordered to disperse because of

     5      an unlawful assembly, what does leaving the area mean to

     6      you?   The area, what does that mean to you?

     7               A    I would say that, and this is not as specified

     8      as it needs to be, but the main point here is for them

     9      to -- for that group to break up and disperse and then not

    10      to recongregate a block away, you know.       That means it's

    11      time for everybody to go their separate ways.        Obviously

    12      we're not telling people they have to go home or anything,

    13      but the group needs to break up and needs to leave that

    14      immediate area separately, individually.

    15               Q    So if they want to recongregate in Kirkwood,

    16      that's leaving the area; right?

    17               A    Right.    The point is to not recongregate and

    18      not be engaged in the same activity that you were given an

    19      order to disperse to begin with.

    20               Q    So that sounds completely reasonable.        How do

    21      you know that?    How do you know that that's -- Is there a

    22      policy or a training you have received or is that just

    23      based on your experience?

    24               A    I would say some of all of that.       The training

    25      that I received as well as that's part of that where you




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     1      would -- as part of the giving them a time frame to leave

     2      that area, direction to leave that area and to disperse

     3      and, so, yeah, I would probably say partly training, partly

     4      from experience.

     5                Q   Did you personally witness any damage to

     6      property or violence that evening?

     7                A   From the position that I was following them or

     8      trying to parallel that group in my vehicle, I heard the

     9      damage.   I saw the damage afterwards.       I don't recall

    10      actually ever seeing like a particular person doing some

    11      damage.   Again, I was kind of tailing and kind of trailing

    12      the group.    So I just kind of saw the aftermath and heard

    13      glass being broken out and heard people kicking at stuff or

    14      trying to hit it, but I never actually saw.

    15                Q   When you say the group, you're talking

    16      about -- This is the --

    17                A   The initial splinter group that broke off.

    18                Q   The splinter group?

    19                A   Right.    Right.

    20                Q   The almost last thing that I want to talk to

    21      you about is chemical agents.      If I say what chemical

    22      agents do you use as a police officer, I mean police

    23      officer generically and not as the entry level just after

    24      probation, what does that mean to you?       Chemical agents,

    25      what's your understanding?




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     1               A     That could be anything from as basic as the

     2      pepper spray, the handheld that is used that every officer

     3      has, up and to actual handheld or fired munitions.

     4               Q     And are there any policies that govern how you

     5      use?

     6               A     Yes.

     7               Q     Do you know what those policies are?

     8               A     I don't know the exact ones off the top of my

     9      head.

    10               Q     That's fine.   Is there a separate policy

    11      regarding the use of deployment or the use or deployment of

    12      chemical agents for crowd dispersal rather than as a use of

    13      non deadly force?

    14               A     There is -- It's covered under the use of

    15      force policy.    There is also a policy that covers use of

    16      any type of chemical munitions.      I believe it is also in

    17      the special order that involves civil disobedience, which

    18      is completely being reworked now, but I believe it's in

    19      there as well.

    20               Q     Is there a difference in your understanding

    21      between mace and pepper spray?

    22               A     Not a hundred percent my area of expertise,

    23      but yes.     I mean, there is a difference in the -- there is

    24      a difference in like between like OC spray and CS gas.          I

    25      mean, the -- the delivery method also was somewhat




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     1      different in terms of the actual handheld canister mace,

     2      the larger handheld foggers that are used and then

     3      obviously up to the handheld throwing or fired canisters.

     4               Q    Have you in the last year and a half had

     5      occasion to use chemical munitions yourself?

     6               A    I have never -- Well, no, I did.       I think I --

     7      At some point during to stop protests I think I might

     8      have -- I might have thrown one canister.        I can't remember

     9      if it was the night of -- the night of the 15th.         I think

    10      it might have been around the mayor's house and then all of

    11      that Central West End protests.      But other than that, no, I

    12      have never -- I have never deployed or never fired like any

    13      of the handheld foggers or any personal mace.

    14               Q    That events that you are talking about, the

    15      mayor's house, that would have been Friday, September 15th?

    16               A    Correct.

    17               Q    That was the day of the verdict?

    18               A    Correct.

    19               Q    That long day?

    20               A    Yes.

    21               Q    What's your understanding under department

    22      policies of whether you have to give any kind of warning to

    23      someone before you use handheld mace or pepper sprays or

    24      any of those handheld chemical agents?

    25               A    In protest situation, then yes.       If it's a




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     1      general area, I mean, if it's a group and we're addressing

     2      that in something that might be deployed into a group, then

     3      a command has to be given stating that it might reach that

     4      point where the use of chemical munitions might be used.

     5      Now just at a normal patrol level or even at a protest

     6      level where there is an immediate person that needs to get

     7      addressed, there isn't a verbal warning that has to be

     8      given, if again -- and that is more an individual --

     9               Q    Right.    I don't --

    10               A    Individual situation.

    11               Q    I don't want to get too hypothetical with you

    12      here.   Have there been any situations, I mean, not in the

    13      last year and a half apparently, but where you have to use

    14      a handheld pepper spray or mace without giving any warning?

    15               A    Me personally?

    16               Q    Yes.

    17               A    No, I have never used mace or any handheld

    18      anything as long as I have been a police officer.

    19               Q    Okay.

    20               A    I just never have had a need to.

    21               Q    Okay.    Have you seen other police officers use

    22      handheld mace or pepper sprays?

    23               A    Yes.

    24               Q    Did you see any other police officers using

    25      handheld mace or pepper spray during that period of those




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     1      Stockley protests?

     2               A     Yes.

     3               Q     Did you see anyone, any police officer use

     4      handheld mace or pepper spray unnecessarily?

     5               A     Yes.

     6               Q     Just thinking back to that -- the whole

     7      handling of those protests, and completely with the benefit

     8      of hindsight going forward, if we knew another verdict was

     9      coming today, a similar thing, that it was going to be a

    10      similar protest and you're charged with teaching a class on

    11      civil disobedience and responding to protests, is there

    12      anything that you based on your experience would recommend

    13      that the police department do differently than what was

    14      done a year ago?

    15               A     Yes.   I'm actually in the process now of

    16      completely revamping it in our response to protests.          You

    17      know there was some things that went right, but there were

    18      a lot of things that could have been done better or

    19      differently.    So that is a process I have already started

    20      since this all -- since last fall.       So I mean, I have

    21      taught some classes at our academy.       I have taught some

    22      classes at some outside agencies already just discussing

    23      basically actually review, going over the things that need

    24      to be done better to include the use of chemical munitions,

    25      when and when not to use force, things of that nature.          And




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     1      also all the other -- I guess attitude or behavioral issues

     2      that might surround how officers surround them or carry and

     3      conduct themselves during these incidents.        So I mean, like

     4      I said, that is something that I have already been doing

     5      anyway and so, yeah.     In the future our response is going

     6      to be improved upon compared to how things went last year.

     7               Q     Is it -- I'll ask you this personally first

     8      and then ask if you think other officers have similar

     9      experiences based on what you have heard.        Is it hard --

    10      harder to be a police officer at a protest when it's the

    11      police who are being protested?

    12               A     For me, no.   I mean, I really -- How can I put

    13      this?   Right is right and wrong is wrong, you know, and

    14      that is how I approach, you know.       I'm one of the few

    15      individuals that is out there actually interacting and

    16      having conversations with those that are protesting.          So

    17      it's a little bit different for me than it is the average

    18      officer that would just be out there standing on the line

    19      because it's just way more interaction on my part.         So as

    20      far as it being harder, I try not to -- I will get into

    21      some individual conversations as to the facts of a certain

    22      case depending on who the individual is, if they are

    23      willing to have a good conversation about it.        And others I

    24      just deal with, I don't get into the weeds about the facts

    25      of the case.    I just deal strictly with how can we make it




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     1      through this day right now, how can we make it through this

     2      incident that we're dealing with right now peacefully, you

     3      know, where you feel that your rights are being infringed

     4      upon saying your piece about how you feel and then, you

     5      know, officers allowing you to do that and there is no

     6      violent activity or whatever between either group.         So it

     7      kind of depends on who I'm dealing with.

     8               Q     For other officers do you think it's harder?

     9               A     It is.

    10               Q     There's a policy about people recording police

    11      activity; is that correct?

    12               A     Yes.    I didn't really brush up on it before

    13      coming here.    But I mean, basically people are allowed to

    14      record our activity.     There is nothing against that.

    15               Q     Have you ever seen or known of police officers

    16      in St. Louis Metropolitan Police Department destroying or

    17      deleting videos or recordings that are being made of them?

    18               A     I have never physically -- I have never seen

    19      anything myself firsthand.      I have heard of incidents that

    20      might have occurred, in particular I guess you know, with

    21      the Luther Hall situation, but I don't know of any.         I have

    22      never physically seen anything myself.

    23               Q     Okay.    Is there training, is that a policy

    24      that you were talking about, that there is the right to do

    25      this?   Is that something that police officers receive




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     1      training on at the St. Louis Metropolitan Police

     2      Department?

     3               A      That would be something that would be like on

     4      that PAS system, that would need to be reviewed and signed

     5      off on that you acknowledge, that you know the policy.

     6               Q     And would that come through PAS like how

     7      often?   How often that you have to review and understand

     8      that?

     9               A      I'm not sure.    Someone else kind of --

    10               Q      Someone else's job?

    11               A      Makes that call on how often things are put

    12      through that system.

    13               Q      Do you know who it is that makes that call?

    14               A      I'm not exactly sure what department that

    15      would be.     Maybe planning, it might be planning and

    16      development, but I'm not a hundred percent sure.

    17               Q     All right.    Was there an after -- I think you

    18      mentioned an after action review after the protest that we

    19      have been talking about.        Did one occur?

    20               A      There were several verbal ones we did conduct

    21      with the command staff, we did a few that were broken down

    22      into, you know, the 15th, 17th, and I think it might have

    23      addressed another night or so.        So there were a few formal

    24      ones where we discussed what occurred and then what could

    25      be done better and moving forward, yes.




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     1               Q      That evening of the 17th, was aviation out

     2      that night, if you know?

     3               A      I would assume they would be, but I'm not a

     4      hundred percent sure.

     5               Q     And I did ask you that night if you had seen

     6      violence or property damage and you told me about property

     7      damage, but I'm not sure I got an answer on violence.            Was

     8      there any violence, physical violence, that night that you

     9      saw or were aware of?

    10               A      There was no -- No.    There was no like

    11      interaction between officers or anything until the arrest

    12      situation.     But again, no, I just heard there was just

    13      property damage prior to that.

    14                      MR. ROTHERT:   Okay.   Could we just have a

    15      minute, please?

    16                   (Whereupon, a short break was taken.)

    17               Q      (By Mr. Rothert) Earlier I had asked you if

    18      you had ever been a defendant in a civil case other than

    19      the ones regarding this protest.       Do you now remember

    20      having ever been a defendant in a case 10 years ago?

    21               A      Yes.   A prior civil case regarding a personal

    22      issue with a vehicle.

    23               Q     And finally you mentioned that a couple of

    24      times you have made reference to command staff and command

    25      staff doing an after incident review.         What constitutes




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     1      command staff?    Is that certain ranks above or certain

     2      people or what do you mean by command staff?

     3               A    Generally I would say -- I believe it's like

     4      lieutenant colonels and above, depending on their

     5      importance.   It might be various other ranks of command

     6      depending on if they needed to be -- if it applied to them,

     7      you know.    Again, myself even as a sergeant I was in the

     8      meetings and helping and assisting conducting these

     9      meetings because we did the actual presentation part.

    10                    MR. ROTHERT:    I have no further questions.

    11                                EXAMINATION

    12      QUESTIONS BY MR. DIERKER:

    13               Q    Lieutenant, I hope that we can keep it brief.

    14      I want to try to follow in Mr. Rothert's footsteps.         But

    15      you mentioned the timing with regard to the verdict in the

    16      Stockley case being handed down and the police department

    17      was expecting some notice; correct?

    18               A    Yes.

    19               Q    And you did not in fact get the amount of

    20      notice you were anticipating; is that correct?

    21               A    Correct.

    22               Q    Now, in the time prior to the announcement of

    23      the verdict, were you aware of any intelligence that had

    24      been accumulated by the police department regarding the

    25      likelihood of protests in the event of a verdict of not




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     1      guilty?

     2                A   There were -- On social media there were -- I

     3      know there were different posts and tweets and such that

     4      were out there.    I mean, it was also our intel was probably

     5      gathering that information.      A lot of it was just kind of

     6      public knowledge that was out that was on social media,

     7      people stating that if a verdict went a certain way then

     8      there would be protests.     So that would have probably been

     9      it.   That was kind of put out there already.

    10                Q   Is it safe to say that when the police

    11      department anticipates public protests over any issue, that

    12      the department attempts to be ready for anything?

    13                A   Yes.

    14                Q   And is it safe to say that if -- I take it you

    15      have read published reports about what happened in

    16      Charlottesville, Virginia; is that fair to say?

    17                A   Yes.

    18                Q   Are you aware?

    19                A   Yes.

    20                Q   That's the kind of thing that your current

    21      mission would embrace planning for; is that fair to say?

    22                A   Correct.

    23                Q   Okay.   So if the Neo-Nazis expected to show up

    24      in St. Louis in the near future, would you anticipate that

    25      the police department would prepare for that?




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     1               A    Yes.

     2               Q    With regard to unlawful assemblies, are you

     3      aware that there is a state law on that subject as well as

     4      a city ordinance?

     5               A    Correct.

     6               Q    With regard to enforcement of traffic laws or

     7      any laws for that matter, is the department -- does the

     8      department train officers in the concept of probable cause?

     9               A    Yes.

    10               Q    And does the name Templeton mean anything to

    11      you?

    12               A    Yes.     I'm not as well versed on the -- on

    13      everything involved with that case, but I know.

    14               Q    Mr. Rothert may be better versed on it than I

    15      am.    I'm not sure.   But in any event, are you aware that

    16      when a temporary restraining order was entered in that case

    17      that the department circulated a text of that order as part

    18      of a special order or an amendment to a special order and

    19      this admittedly would be back in January of '15?

    20               A    Yeah.    I'm not a hundred percent sure if I

    21      recall it being implemented in a special order or special

    22      order being updated as a result of that.

    23               Q    Well, I don't want to clutter up Mr. Rothert's

    24      deposition.   I'm alluding to the documents, the Baumgartner

    25      declaration, that was previously filed in the case, so you




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     1      know what I'm talking about Mr. Rothert.       Well, sufficed to

     2      say when a court enters an order that affects police

     3      department operations, is it your understanding that that

     4      information is provided to police officers?

     5               A    Yes.

     6               Q    Have you ever seen an individual violating a

     7      traffic offense where traffic laws were elected not to

     8      issue a citation or arrest him?

     9               A    Yes.

    10                    MR. DIERKER:    I have nothing further.

    11                    MR. ROTHERT:    You have the option to review

    12      and sign this deposition or waive your signature.

    13                    MR. DIERKER:    We will review it and sign.

    14

    15               (Deposition was adjourned at 11:30 a.m.)

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     1                         CERTIFICATE OF REPORTER

     2

     3                 I, Jamie Jo Kinder, CCR No. 842, CSR No.

     4      084.003306, do hereby certify that the witness whose

     5      testimony appears in the foregoing deposition was duly

     6      sworn by me; that the testimony of said witness was taken

     7      by me to the best of my ability and thereafter reduced to

     8      typewriting under my direction; that I am neither counsel

     9      for, related to, nor employed by any of the parties to the

    10      action in which this deposition was taken, and further that

    11      I am not a relative or employee of any attorney or counsel

    12      employed by the parties thereto, nor financially or

    13      otherwise interested in the outcome of the action.

    14

    15                                   __________________________

    16                                    Certified Court Reporter

    17

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     1                          ALARIS LITIGATION SERVICES

     2    January 3, 2019

     3    Ms. Abby Duncan
          St. Louis City Counselor's Office
     4    1200 Market, City Hall, Room 314
          St. Louis, MO 63103
     5
          IN RE: MALEEHA AHMAD, et al. v. CITY OF ST. LOUIS,
     6           MISSOURI

     7    Dear Ms. Duncan,

     8    Please find enclosed your copies of the deposition of
          RANDY JEMERSON taken on December 19, 2018 in the
     9    above-referenced case. Also enclosed is the original
          signature page and errata sheets.
    10
    11    Please have the witness read your copy of the
    12    transcript, indicate any changes and/or corrections
    13    desired on the errata sheets, and sign the signature
    14    page before a notary public.
    15
    16    Please return the errata sheets and notarized
    17    signature page within 30 days to our office at 711 N
    18    11th Street, St. Louis, MO 63101 for filing.
    19
    20    Sincerely,
    21
    22
    23    Jamie Jo Kinder, CCR, CSR
    24
    25    63623



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     1                         ERRATA SHEET
          Witness Name: RANDY JEMERSON
     2    Case Name: MALEEHA AHMAD, et al. v. CITY OF ST. LOUIS,
                     MISSOURI
     3    Date Taken: DECEMBER 19, 2018
     4
     5    Page #_____       Line #_____
     6    Should read:      ____________________________________
     7    Reason for change:        ______________________________
     8
     9    Page #_____       Line #_____
    10    Should read:      ____________________________________
    11    Reason for change:        ______________________________
    12
    13    Page #_____       Line #_____
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    16
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    18    Should read:      ____________________________________
    19    Reason for change:        ______________________________
    20
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    22    Should read:      ____________________________________
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    24
    25    Witness Signature:        ______________________________



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     1     STATE OF _______________)
     2
     3     COUNTY OF ______________)
     4
     5     I, RANDY JEMERSON, do hereby certify:
     6              That I have read the foregoing deposition;
     7              That I have made such changes in form
     8     and/or substance to the within deposition as might
     9     be necessary to render the same true and correct;
    10              That having made such changes thereon, I
    11     hereby subscribe my name to the deposition.
    12              I declare under penalty of perjury that the
    13     foregoing is true and correct.
    14              Executed this _____ day of _______________,
    15     20___, at ___________________________.
    16
    17
    18
    19                                   __________________________
    20                                   RANDY JEMERSON
    21
    22                                   __________________________
    23                                   NOTARY PUBLIC
    24     My Commission Expires:
    25



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